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                     IN THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF FLORIDA (MIAMI DIVISION)


   UNITED STATES OF AMERICA                                Case No.: 1:18-cr-20685-KMW

                   v.

   ABRAHAM EDGARDO ORTEGA,

                   Defendant.


      APPLICATION TO WITHDRAW MOTION OF BOLIVARIAN REPUBLIC OF
   VENEZUELA SEEKING VICTIM STATUS AND RESTITUTION AS SUPERSEDED BY
         MOTION OF PDVSA SEEKING VICTIM STATUS AND RESITUTION

         The Bolivarian Republic of Venezuela (the “Republic”) moves this Court to order that

  the pending motion seeking victim status and restitution purportedly on behalf of the Republic

  (DE 87) be withdrawn as superseded by the motion of Petróleos de Venezuela, S.A. (PDVSA)

  for victim status and restitution.

         The undersigned counsel for the Republic has conferred with counsel for the United

  States of America (the “United States”) regarding this motion. The United States does not

  oppose this motion.

                                          BACKGROUND

         On January 10, 2019, the freely and fairly elected Venezuelan National Assembly

  determined, in accordance with the Venezuelan Constitution, that the presidency was vacant

  because then-President Nicolás Maduro had claimed victory in a fraudulent election held in

  2018. On January 23, 2019, National Assembly President Juan Guaidó, supported by the

  democratically elected National Assembly, assumed the Interim Presidency of Venezuela in an

  effort to restore democracy and constitutional rule.
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         Also on January 23, 2019, the United States recognized Mr. Guaidó as the legitimate

  Interim President of Venezuela and rejected the legitimacy of the Maduro regime. On January 7,

  2020, Mr. Guaidó was again sworn in as President of the National Assembly and, therefore, was

  recognized by the Unites States as Interim President of the Republic. Interim President Guaidó

  has duly appointed José Ignacio Hernández as Special Attorney General to represent and defend

  the interests of the Republic in legal proceedings outside of Venezuela, including this matter.

         On April 2, 2019, a motion seeking victim status and restitution under the Crime Victims’

  Rights Act (18 U.S.C. § 3771) and the Mandatory Victims Restitution Act (18 U.S.C. §§ 3663A

  et seq.) was filed by attorneys purporting to represent the Bolivarian Republic of Venezuela

  under instruction of Mr. Maduro. (DE 87.)

         On May 17, 2019, the United States opposed the motion on the ground that it was filed

  under instructions of a person whom “the United States does not recognize” as having authority

  to speak on behalf of the Republic. (DE 99 at 2.)

         By letter dated May 22, 2019, Special Attorney General Hernández terminated the

  Republic’s relationship with counsel who filed the motion and engaged lawyers at the law firm

  of Arnold & Porter Kaye Scholer LLP to represent the interests of the Republic in this matter.

  (DE 104.)

         On May 23, 2019, the Republic filed a stipulation of substitution of counsel, explaining

  that the Republic’s proper, recognized authorities had determined that “the Republic would

  henceforth be represented solely by the law firm of Arnold & Porter Kaye Scholer, LLP.” (DE

  105 at 2.)




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                                            DISCUSSION

         1. As a threshold housekeeping matter, the Court should so-order the pending unopposed

  stipulation to substitute. (DE 105). The undersigned attorneys, appointed under authority of

  Interim President Juan Guaidó, are the appropriate attorneys to represent the Republic because,

  as the United States explained in its opposition to the original motion for victim status (DE 99),

  the “authority to recognize a foreign sovereign is exclusive to the Executive Branch. Here, the

  President of the United States has recognized the Venezuelan National Assembly and Interim

  President Juan Guaidó as the legitimate government and leader” of the Republic. Id. at 1.

  Further, “the decision to recognize a foreign power is a political question reserved for the

  President of the United States.” Id. at 4-5 (citing and quoting Zivotofsky ex rel. Zivotofsky v.

  Kerry, 135 S. Ct. 2076, 2090 (2015); Guar. Tr. Co. of New York v. United States, 304 U.S. 126,

  137-38 (1938); Republic of Panama v. Air Panama Internacional, S.A., 745 F. Supp. 669, 675

  (S.D. Fla. 1988)). Accordingly, the Court should so-order the stipulation to substitute.

         2. Beginning in May 2019, Special Attorney General Hernández has been engaged in

  discussions with the U.S. Department of Justice concerning a potential government-to-

  government agreement to provide for recovery by the Republic of the proceeds of bribery and

  corruption schemes and other criminal activity that have caused economic harm to the Republic

  and its instrumentalities.

         Special Attorney General Hernández is committed to continuing discussions with the

  Department of Justice with a view to coming into an agreement under which the recovery of the

  proceeds of crime against the Republic and its state-owned entities will be addressed on a

  comprehensive, consensual basis that governs all assets recovered by the U.S. Government in

  connection with kleptocracy and corruption in Venezuela. However, as the Defendant’s




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  sentencing has approached, the Special Attorney General has concluded that it does not appear

  that such an agreement is near fruition at this time.

          Further, during the course of the government-to-government discussions, the Special

  Attorney General had occasion to investigate the pending application of the Republic in this

  case, filed by counsel instructed by Mr. Maduro. The Special Attorney General concluded that

  the Republic is not the appropriate applicant for recognition of victim status and restitution, but

  rather the appropriate applicant is PDVSA. Thus, in order to protect the assets of the Venezuelan

  people and to discharge his obligation to protect property rightfully belonging to the Republic

  and its instrumentalities for the ultimate benefit of the Venezuelan people for use in alleviating

  the existing humanitarian crisis in Venezuela, restoring democracy and the rule of law to

  Venezuela, and rebuilding Venezuela’s economic prosperity, the Special Attorney General has

  determined that the Republic’s pending motion for recognition of victim status and restitution

  should be withdrawn as superseded by the motion of PDVSA for such recognition and

  restitution.

          Accordingly, the Court should grant the Republic’s application to withdraw the

  Republic’s pending motion for recognition of victim status and restitution as superseded by the

  motion of PDVSA for such recognition and restitution.

                                            CONCLUSION

          The pending stipulation to substitute counsel (DE 105) should be so-ordered, and the

  pending motion seeking victim status and restitution purportedly on behalf of the Republic (DE

  87) should be withdrawn as superseded by the motion of PDVSA for victim status and

  restitution.




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   Dated: April 24, 2020                              Respectfully submitted,

                                                      ARNOLD & PORTER KAYE SCHOLER LLP


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                                 CERTIFICATE OF SERVICE

         I hereby certify that on April 24, 2020, I electronically filed the foregoing document with

  the Clerk of the Court using CM/ECF, which will deliver the document to all counsel of record.


  Dated: April 24, 2020                                /s/ Jason A. Ross__________




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